                IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF IOWA
                       CEDAR RAPIDS DIVISION
 PARENTS DEFENDING
 EDUCATION,
                     Plaintiff,
 v.
                                                  Case No. ____________
 LINN-MAR COMMUNITY SCHOOL
 DISTRICT; SHANNON BISGARD, in
 his official capacity as Superintendent of
 Linn-Mar Community School District;
 BRITTANIA MOREY, CLARK
 WEAVER, BARRY BUCHHOLZ,
 SONDRA NELSON, MATT
 ROLLINGER, MELISSA WALKER,
 and RACHEL WALL, in their official
 capacities as members of the Linn Marr
 Community School District School
 Board,
                     Defendants.


                         DECLARATION OF PARENT D

       1.    I live within the boundaries of the Linn-Mar Community School District

(“Linn-Mar”) and am the parent of a school-aged child.

       2.    I am over the age of eighteen and under no mental disability or

impairment. I have personal knowledge of the following facts and, if called as a witness,

would competently testify to them.

       3.    I am a member of Parents Defending Education.

       4.    My son is enrolled in Linn-Mar High School.



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       5.     I have raised my son to believe that people are either male or female, and

that biological sex is immutable and does not change based on someone’s internal

feelings. I have taught my son to be respectful to others but also to tell the truth and

always stand up for his beliefs, even when those beliefs are unpopular.

       6.     My son believes that people are either male or female and that a person

cannot “transition” from one sex to another. He has no ill-will towards members of the

LGBT community, but he does not want to be forced to affirm that a biologically

female classmate is actually a male, or vice versa.

       7.     Due to the speech policy, however, my son either remains silent in school

environments or avoids using sex-specific pronouns altogether. Still, I know that it is

only a matter of time until he will be forced to confront the issue directly.

       8.     I want my son to be educated in a challenging environment that involves

the free exchange of ideas, and to be free to express his beliefs, even if others disagree

with those beliefs or find them offensive.

       9.     Under the Speech Policy, however, my child can be punished merely for

expressing an opinion about the nature of biological sex, declining to use another

student’s “preferred pronouns,” or disagreeing with another student’s assertion about

whether they are male or female.

       10.    I am concerned that my son will be subjected to formal discipline that will

harm his college admission chances and his extracurricular opportunities, unless he

affirms ideas that are inconsistent with his deeply held beliefs.

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       11.    I am signing this declaration under a pseudonym because I live in Linn-

Mar and, if my participation in this litigation becomes public, I fear reprisal from school

officials, my child’s teachers and fellow students, and members of the broader

community.




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